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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

EQUALITY FLORIDA, et al.,
      Plaintiffs,
v.                                               Case No. 4:22-cv-134-AW-MJF
RONALD DESANTIS, et al.,
     Defendants.
_______________________________/
               ORDER DENYING MOTION TO INTERVENE

      I earlier denied Scott Huminski’s motion to intervene. ECF No. 46. Huminski

now moves for reconsideration, requesting for various forms of relief. ECF No. 53.

Because Huminski shows no entitlement to relief, his motion (ECF No. 53) is

DENIED.

      SO ORDERED on July 12, 2022.

                                     s/ Allen Winsor
                                     United States District Judge
